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                    EXHIBIT 1
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                                 COOPERATIVE AGREEMENT


                                              BETWEEN


                U.S. DEPARTMENT OF HEALTH AND HUMAN SERVICES,


               ADMINISTRATION FOR CHILDREN AND FAMILIES (ACF),


                      OFFICE OF REFUGEE RESETTLEMENT (ORR)


        DIVISION OF UNACCOMPANIED CHILDREN'S OPERATIONS (DUCO)


                                               AND


               UNITED STATES CONFERENCE OF CATHOLIC BISHOPS




SECTION       S


The Director of the Office of Refugee Resettlement (ORR) of the Department of Health and
Human Services (HHS) has responsibility for the care and placement of unaccompanied children
(UC) in accordance with Section 462 of the Homeland Security Act of 2002 (HSA of 2002), 6
U.S.C. § 279. An unaccompanied child is defined under 6 U.S.C, § 279(g)(2) as a child who is:
under 18 years old, who has no lawful immigration status in the. United States, and no parent or
legal guardian in the United. States or no parent or legal guardian in the United States available
to provide care and physical custody.


Within ORR, the Division of Unaccompanied Children's Operations (DUCO) has delegated

authority for the care and placement of UC.




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 The DUCO's primary objectives are to provide a safe, appropriate, and placement in the least
 restrictive environment for UC, taking into consideration the risk of harm to the UC or others,
 the community and the risk of flight, while in ORR custody until they are released to a sponsor,
 obtain immigration legal relief, age out, or are discharged to the Department of Homeland
 Security (DHS).


 ORR provides residential care and services through contracts or through the competitive or non-
competive grant process to organizations incorporated under State law which have demonstrated.
child welfare, social service, or related experience and are appropriately licensed to provide care
and related services to dependent children. Recipients of ORR funding, that provide residential
services for UC, must comply with State residential care licensing requirements; the Flores
Settlement Agreement, Case No. CV85-4544-RX (C.D. Cal. 1996) (Flores settlement
agreement); pertinent federal laws and regulations, and all ORR policies and procedures,


Pursuant to 6 U.S.C. §279 the Director of the ORR, hereinafter cal led the Director, approves
awards for residential services to UC. In accordance with this award and pursuant to the
aforementioned laws, United States Conference of Catholic Bishops has funding approved to
provide residential services for UC, which meets the requirements in the previous paragraph.


Pursuant to the aforementioned Iaws, United States Conference of Catholic Bishops, hereinafter
called United States Conference of Catholic Bishops has submitted an application and has been
approved for funding to provide residential services for UC.


By signing this Cooperative Agreement, the Director agrees to make a grant award in accordance
with approved annual continuation applications and quarterly reviews of program performance
and financial reports for the project period of the grant. Under the terms of this agreement,
United States Conference of Catholic Bishops will provide residential services for UC.


This Cooperative Agreement and the Terms and Conditions, listed in United States Conference
of Catholic Bishops Notice of Award (NoA), establish the requirements and responsibilities for
implementing United States Conference of Catholic Bishops residential services for UC.



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 Continued funding is contingent upon satisfactory performance, availability of funds, and
 determination that continuation is in the best interests of the Federal Government.




 SECTION II: Purpose and Objective
 The purpose of this agreement is to support the provision of residential services for UC
 according to the objectives and activities outlined in the application and consistent with State
residential care licensing requirements.


In making decisions on placement and residential services provided to UC, the Director is
governed by §462 of the HSA of 2002, 6 U.S.C. §279; § 235 of the William Wilberforce
Trafficking Victims Protection Reauthorization Act of 2008 (TVPRA of 2008), 8 U.S.C. §1232,
as amended; relevant portions of the Prison Rape Elimination Act of 2003 (PREA of 2003), 42
U.S.C. §15607, as amended2; and when it is not inconsistent with subsequent law, the Flores
settlement agreement and the Perez-Olano Settlement Agreement, Case No. CV85-4544RJK. (C.
a Cal. 1996) (Perez-Olano settlement agreement).


In December 2014, HI-IS released an Interim Final Rule (IFR) on standards to prevent, detect,
and respond to sexual abuse and sexual harassment involving UC. The IFR sets forth standards
to prevent, detect, and respond to sexual abuse and sexual harassment in ORR care provider
facilities that house unaccompanied children (UCs) in accordance with section 1101(c) of the
Violence Against Women Reauthorization Act of 2013, Rub. L. 113-4 (VAWA 2013). VAWA
2013 directed the Secretary of the Department of Health and Human Services (HITS) to adopt
national standards for the detection, prevention, reduction, and punishment of rape and sexual
assault in facilities that maintain custody of UCs. The standards apply to all. ORR care provider
facilities housing UCs except secure care provider facilities and individual foster care
homes. The standards build upon and enhance existing State and local laws, regulations, and
licensing standards.


  Section 235 of the TVPRA of 2008 was amended in part by section 1262 of the Violence Against Women
Reauthorization Act of 2013.
2 Section 8 of PREA of 2003, was amended in part by section 1101(c) of the Violence Against Women
Reauthorization Act of 2013.


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SECTION III: Authority
As provided by the terms of the Federal Grant and Cooperative Agreement Act. of 1977
(RICAA), 31 U.S.C, §6301, as amended, the grant awarded establishes a Cooperative
Agreement between the Office of Reftigee Resettlement (ORR) and GRANTEE NAME.
Pursuant to the .FGCAA, this cooperative agreement (hereinafter "agreement") provides for
substantial involvement and collaboration of ORR in activities related to cooperative agreements
for residential services.


Furthermore, ORR is authorized to enter into this agreement under 6 U.S.C. §279 and 8 U.S.C.
§1232(i) of the TVPRA of 2008.


SECTION IV: Description of Activities


   A. Residential and Other Services
       United States Conference of Catholic Bishops must provide residential. shelter and
       services for UC in compliance with respective State residential care licensing
       requirements, the Flores settlement agreement, pertinent federal laws and regulations,
       the ORR policies and procedures, unless otherwise expressly waived (in writing) by
       authorized ORR staff.


   2. Under the terms of the Flores settlement agreement, care providers must provide the
       following services for each UC in their care:

           Proper physical care and maintenance, including suitable living accommodations,
           food, appropriate clothing and personal grooming items.

           Appropriate routine medical and dental care, family planning services, and
           emergency health care services, including a complete medical examination (including
           screenings for infectious disease) within 48 hours of admission, excluding weekends
           and holidays, unless the UC was recently examined at another ORR. care provider
           facility; appropriate immunizations in accordance with recommendations of the U,S.
           Department of .Health and Human Services f U.S. Public Health Service (PITS),




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      Centers for Disease Control and. Prevention (CI?C) Advisory Committee on
      Immunization Practices; administration of prescribed medication and special diets;
      appropriate mental health interventions when necessary,

      An individualized needs assessment, which includes the various initial intake forms,
      collection of essential data relating to the identification and history of the child and
      his or her family, identification of the UC's special needs including any specific
      problems which appear to require immediate intervention, an educational assessment
      and plan, an assessment of family relationships and interaction with adults, peers and
      authority figures; a statement of religious preference and practice; an assessment of
      the unaccompanied child's personal goals, strengths and weaknesses; identifying
     information regarding immediate family members, other relatives, godparents or
      friends who may be residing in the United States and may be able to assist in
     connecting the child with family members.

 •   Educational services appropriate to the unaccompanied child's level of development
     and communication skills in a structured classroom setting Monday through Friday,
     which concentrates primarily on the development of basic academic competencies
     and secondarily can English Language Training. The educational program must
     include instruction and educational and other reading materials in such languages as
     needed. Basic academic areas should include Science, Social Studies, Math, Reading,
     Writing and Physical Education. The program must provide unaccompanied children
     with appropriate reading materials in languages other than English and spoken by the
     UC in care for use during leisure time,

•    Activities according to a recreation and leisure time plan that include daily outdoor
     activity, weather permitting, with at least one hour per day of large muscle activity
     and one hour per day of structured leisure time activities (that should not include time
     spent watching television). Activities should be increased to a total of three hours on
     days when school is not in session.

•    At least one individual counseling session per week conducted by trained social work
     staff with the specific objective of reviewing the child's progress, establishing new.


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         short term objectives, and addressing both the developmental and crisis-related needs
         of each child.

    •    Group counseling sessions at least twice a week.

         Acculturation and adaptation services which include information regarding the
        development of social and inter-personal skills which contribute to those abilities
        necessary to live independently and responsibly.

        A comprehensive orientation regarding program intent, services, rules (written and
        verbal), expectations and the availability of legal. assistance.

        Whenever possible, access to religious services of the child's choice, and in an
        environment that ensures children feel free to ask for such access.

        Visitation and contact with family members (regardless of their immigration status),
        which is structured to encourage such visitation.

   •    A reasonable right to privacy, Which includes (1) the right to wear his or her own
        clothes when available, (2) retain a private space in the residential facility, group or
        foster home for the storage of personal belongings, (3) talk privately on the phone and
        visit privately with guests, as permitted by ORR policy and applicable regulations, (4)
        receive and send uncensored mail unless there is a reasonable belief that the mail
        contains contraband.

        Services designed to identify relatives in the United States as well as in foreign
        countries and assistance in obtaining legal guardianship when necessary for the
        release of the unaccompanied child.

        Legal services information, including the availability of free legal assistance, the right
        to be represented by counsel at no expense to the government, the right to a removal
        hearing before an immigration judge, the right to apply for asylum or to request
        voluntary departure in lieu of deportation.

B. Organizational Capacity and Structure


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        United States Conference of Catholic Bishops must have the infrastructure and
        organizational capacity (governance structure, procedures, standards, and accountability
        controls) to meet all ORR program requirements and to properly manage all program
        resources (finances, personnel, physical plant structures, technology) and other provisions
        within the scope of this agreement.


    2. Unless waived by ORR, United States Conference of Catholic Bishops should be
        accredited by a nationally recognized accreditation organization, at ORR's discretion.'


        United States Conference of Catholic Bishops must have an effective program
        management structure that designates clear lines of authority and responsibility and
        promotes the effective use of organizational resources and positive outcomes, including
        the safe and timely release of unaccompanied children.


    4. United States Conference of Catholic Bishops must have internal policies and
       procedures in place for monitoring and evaluating their program and conducting ongoing
       quality assurance activities to identify areas in need of improvement and/or modification.


    5. United. States Conference of Catholic Bishops must provide services in a culturally
       sensitive and knowledgeable manner. The majority of staff responsible for direct service
       delivery must be bilingual in English and Spanish. Staff who routinely work with
       unaccompanied children who speak other languages must be proficient in that language.
       Care providers must have access to interpreters for other languages that unaccompanied
       children in their care may speak.


   6. United States Conference of Catholic Bishops must maintain, internal policies and
       procedures in electronic and hard copy form and readily accessible for all care provider
       and ORR staff. Internal policies and procedures are subject to ORR approval and must



 As applicable: The Council on Accreditation (COA), the Joint Commission (TJC), the.
Commission on Accreditation of Rehabilitation Facilities (CARF) or the American Correctional
Association (ACA).

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            comply with all applicable federal law, regulations, and ORR's policies and procedures.
            The care provider's internal policies and procedures must address the following:

           •    Provision of services that is specific to the type/level of care;

           •   State mandated placement criteria, including licensing-related restrictions;

           •   Population of children and youth served and facility capacity;

        •      Personnel policies and procedures`, including training requirements;

        •      Emergency and evacuation policies and procedures;

        •      Physical plant requirements and maintenance policies and procedures (inspections for
               safety and maintenance, review of heating and cooling systems, plumbing, etc.);

        •      Health policies and procedures for unaccompanied children;

        •      Procedures for meeting mandated reporting requirements (reporting suspected
               n.   ect, maltreatment and/or abuse and sexual abuse and/or sexual harassment);

        •      Zero tolerance policy for sexual abuse and harassment;

       •       Grievance policies and procedures for both unaccompanied children and staff;

               Financial management policies and procedures (including internal controls for errors,
               mismanagement or fraud and provisions for regular audits performed by an outside,
               independent auditor)5;

       •       Internal monitoring, evaluation, and continued quality assurance policies and
               procedures;

  Including equal employment policies, prohibitions against nepotism and favoritism, policies on
benefits, insurance protections, promotions and professional development, reporting
requirements, sanctions and discipline of staff, working conditions, wage, time-off and lay off
policies, activities and behaviors that require immediate suspension and possible termination.

5All modifications to award budgets require prior approval from both the Administration for
Children and Families Office of Grants Management (ACF/OGM) and an ORR PO.

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       Relationships with key external stakeholders; and,

       "Drug Free Workplace" policies.

   United States Conference of Catholic Bishops must maintain or attempt to enter into
   memoranda of understanding (MOUs) or other agreements with local child advocacy
   centers, rape crisis centers, immigrant victim service providers, and/or other community
   service providers to provide services to victims of sexual abuse and sexual harassment
   that occurred at the care provider facility. If local service providers are not available,
   United States Conference of Catholic Bishops must maintain or attempt to enter into
   MOUs or other agreements with national service provider organizations. All agreements
   must have provisions that require the community or immigrant service provider to .report
   any allegations of mistreatment or abuse to ORR. Care provider facilities must maintain
   copies of its agreements or documentation showing attempts to enter into such
   agreements and provide copies to ORR upon request.


C. Management of Personnel and Volunteers


   United States Conference of Catholic Bishops must develop, implement, and
   document a staffing plan based on the populations served, the scope and type of provided
   services, anticipated requirements, current and projected staff vacancies, and project
   budgets. The staffing plan must:

       Include staffing ratios in accordance with State licensing requirements, and as
      required by ORR.'s policies and guidelines;

   b. Include a UC to Case Manager ratio of 8:1, unless waived by ORR;

   c. Include a UC to Clinician ratio of 12:1, unless waived by ORR.



2. United States Conference of Catholic Bishops must complete background
   investigations on all staff, contractors, and volunteers prior to hire to ensure the candidate
   is suitable for employment to work with minors in a residential setting. Background


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    checks must be completed in accordance with ORR.'s minimum standards and State
    licensing requirements. The results must be included in the employee's personnel file. If
    State licensing requirements do not require a national criminal history fingerprint check,
    United States Conference of Catholic Bishops must complete the check using a public
   or private vendor. If there is an additional cost associated with this fingerprint check, the
   cost may be included in United States Conference of Catholic Bishops 's budget plan.

3. Requirements for all hired staff All staff must:

   ®   Be at least .21 years of age;

   •   Exhibit integrity and good moral character to provide appropriate care to UC;

       Possess the relevant experience and/or qualifications to work with UC and UC with
       special needs; and,

   •   Be properly trained and licensed, as necessary.

4. United States Conference of Catholic Bishops may not hire, continue employment, or
   enlist the services of any contractor or volunteer who:

   a   Has engaged in any form of child abuse or neglect, including domestic violence;

   * Has been convicted of engaging or attempting to engage in sexual abuse facilitated by
       force, overt or implied threats of force, coercion or if the victim did not consent or
       was unable to consent or refused; and/or,

   •   is undergoing civil or administrative adjudication or has been civilly or
       administratively adjudicated for engaging in an activity listed above.

5. United States Conference of Catholic Bishops must consider incidents of sexual
   harassment in determining whether to hire anyone or to enlist the services of any
   contractor or volunteer. United States Conference of Catholic Bishops must ask all
   applicants about previous misconduct in written applications or interviews for hiring.
   Applicants or employees must disclose any misconduct, whether the conduct occurs on or
   off duty. United States Conference of Catholic Bishops personnel policies and

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   procedures must .provide that material omissions regarding such misconduct or
   providing materially false information will be grounds for termination.


6. United States Conference of Catholic Bishops must have job descriptions and
   selection criteria for all staff positions that state the qualifications, performance
   standards, and responsibilities for each position. (Each job description must include a
   section on Essential Functions as mandated by the Americans with Disabilities Act).


7. United States Conference of Catholic Bishops must obtain prior approval for the
   positions noted in the table below. The table also includes job descriptions and minimum
   qualifications for positions that require ORR approval as well as those that do not.
   Exceptions to the minimum qualifications require €RR's explicit written approval prior
   to hire and ORR may require supervision plans and additional training.


                           Positions Requiring ORR Prior Approval
    Position                       Job Description               Minimum Qualifications
Program Director      Overall management of the            Master's degree in social work or an.
                      programmatic, administrative,        equivalent degree in education,
                      financial, and operational systems   psychology, sociology, or other
                      related to the provision of care and relevant behavioral science degree
                      services; provision of regular and   or bachelor's degree plus 5 .years'
                      timely reports to ORR regarding      experience in child welfare
                      operations, services, and finances;  administration, child protective
                      establishing a respective and        services; and, 2 years of experience
                      supportive workplace environment;    in program management or as
                      elevating any issues or concerns to  director of a licensed child care
                      ORR.                                 program. Possess the
                                                           administrator's license for the care
                                                           provider's facility.




                                             13.




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 Assistant Program    Serves as secondary liaison with ORR. I Bachelor's degree in education,
      Director        The need for an Assistant Program       psychology, sociology or other
                      Director will vary depending on the     relevant behavioral science plus 5
                      number of unaccompanied children        years of progressive employment
                      served at a care provider facility.     experience with a social services or
                                                              childcare agency or organization.



     Clinician       Conducts mental health assessments;        Master's degree in social work with
                     provides ongoing individual and group      clinical experience in the program,
                     counseling services, screens for human     or Master's degree in psychology,
                     trafficking concerns, and provides         sociology, or other relevant
                     crisis intervention services.              behavioral science in which direct
                                                                clinical experience is a program
                                                                requirement, or a bachelor's degree
                                                                plus 5 years clinical employment
                                                                experience. Must be licensed or
                                                                eligible for licensure.
  Lead Clinician      Coordinating clinical services, training Master's degree in social work, 2
                      new clinicians, and supervising the       years of postgraduate direct service
                      clinical staff                           delivery experience or a Master's
                                                               degree or Ph.D. in psychology,
                                                               sociology, or other relevant
                                                               behavioral science in which clinical
                                                               experience is a program
                                                               requirement, plus 2 years of
                                                               postgraduate direct service delivery
                                                               experience/or bachelor's degree
                                                               plus 5 years clinical employment
                                                               experience in the behavioral.
                                                               sciences. Must have supervisory
                                                               experience and be licensed to
                                                               provide clinical services in the State
                                                               where the care provider is located.
Lead Case Manager    Responsible for coordinating case         Master's degree in the behavioral.
                     management and safe and timely            sciences, human services or social
                     release services, training new case       services fields or bachelor's degree
                     managers, and supervising the work o      and at least 3 years progressive
                     other case manager.                       employment experienee that.
                                                               demonstrates supervisory and case
                                                               mana..ement e serience.




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   Prevention of Sexual        Oversees implementation and ongoing              Bachelor's degree in behavioral
      Abuse (PSA)              compliance with the Interim Final Rule           sciences, human services, or social
   Compliance Manager          on LC Sexual Abuse and. Sexual                   service fields and at least 1. year
                               Harassment standards at care provider            experience working with child
                               facilities.                                      welfare standards, best practices,
                                                                                and compliance issues.




                                Positions NOT Requiring ORR Prior Approval
          Position                         Job Description                     Minimum Qualifications
                               Assesses the needs of unaccompanied        Bachelor's degree in the behavioral
                               children in care, develops Individual      sciences, human services or social
                               Service Plans, screens for human           services fields. Child welfare and/or
                               trafficking concerns, facilitates the safe case management experience is
                               and timely release or discharge of         strongly encouraged.
      Case Manager6            children and youth, documents the
                               provision of services in case files.



                               Arrange or partners with other health            High school diploma or equivalent
                               professionals regarding health and               degree and a minimum of I year
                               safety standards for out-of-home child           employment experience in the child
                               care, child care licensing requirements,         welfare field working with children
                               disease reporting requirements for care          and/or adolescents in a social
                               providers, immunizations for children,           service setting.
                               injury prevention for children,
  Medical Coordinator
                               medication management and
                               knowledge of community health and
                               mental health resources for. children. If
                               the size of the program does not justify
                               hiring a full time Medical. Coordinator,.
                               the responsibilities may be combined
                               with another osition.




6 "fhis position may require ORR approval lithe Case Manager is conducting clinical assessments.


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                       Provides educational services and         Bachelor's degree; certification by
                       assessments, including curriculum         the relevant governing authority,
                       building meeting Flores standards for     Teaching English as a Second
                       education requirements.                   Language/Teaching English to
     Teacher                                                     Speakers of Other Languages
                                                                 certification or other appropriate
                                                                 accrediting body and additional.
                                                                 training to meet the special needs o
                                                                 imam) sanied children.
                      Conduct trainings, select or develop       Bachelor's degree.
                      training materials; maintain records on
                      training program attendance; trainings
                      offered, and evaluation measures. This
                      position does not have to be full time
     Trainer          and the responsibilities may be
                      combined with another position.



                      Provide direct supervision of children       High school diploma or equivalent
                      in care, and maintain line-of-sight at all I degree and a minimum of 1 year
                      times                                        employment experience in the child
Youth Care Worker                                                  welfare field working with children
                                                                   and/or adolescents in a social
                                                                   service setting.



8. United States Conference of Catholic Bishops must maintain a personnel file for each
   employee, whether part-time or full-time, that documents the employee's credentials,
   competencies, and performance, and provide access to ORR upon request. The employee
   personnel file must be up-to-date and must include the criteria for the employee's
   selection, hiring, suspension, or termination.


   a. Personnel files must include at the minimum:

      o Resume;

      o Job Description

      o Employment application;

      o Professional references;
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              o Educational records/diploma;

              o Professional licensure (if applicable);

              o Form -9, Employment Eligibility Verification, and appropriate identification
                  documentation;

              o Results of medical examination (as required by State licensing, including results
                  of TB tests and immunization records);

             o Child Abuse Mandated Reporter agreement (signed);

             o Confidentiality policy acknowledgement;

             o Most recent performance review (signed);

             •    Child abuse and neglect record check results (for all jurisdictions lived in for the
                  past 5 years);

             o National FBI criminal background check and State repository check results (for
                  all jurisdictions lived in for the past 5 years);

             o Driver's Record and Clearance (if transporting children and youth);

                 Record of completion of mandated trainings and required acknowledgements.



         b. United States Conference of Catholic Bishops must have policies and procedures
             for using and managing volunteers and interns (this includes those working in foster
             care).7 This includes:

             o Establishing requirements for their selection;

             o Ensuring that each volunteer and intern complete pre-service and annual training,
                 if applicable;

7 Family and friends of the foster family may interact with unaccompanied children as they would in a normal

community setting without having to complete the volunteer requirements listed above.


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           Using paid staff to supervise all volunteers and interns;

       o Requiring authorization for any volunteers or interns to accompany
           unaccompanied children and care provider staff outside the facility for trips,
           medical appointments, or other visits;

       o Requiring all volunteers and interns to complete a volunteer application, provide
          disclosures, and references; and,

          Conducting background checks on all volunteers and interns.



D. Code of Conduct and Conflict of Interest Requirements


1. Code of Conduct


       United States Conference of Catholic Bishops must create and implement a Code
       of Conduct that reflects the ethical standards of a reputable professional organization,
       such as the. National Association of Social. Workers, Child Welfare League of
      America, or the American Public Health Human Services Association. The Code of
      Conduct must specifically address the employee's obligations with respect to
       interactions and interventions with unaccompanied children, staff, and external
      stakeholders.


   b. United States Conference of Catholic Bishops must train all employees on the
      Code of Conduct and have a "whistleblower policy" that provides staff an opportunity
      to report suspicious unethical, inappropriate or illegal activities without negative
      consequence. United States Conference of Catholic Bishops must include proof in
      the employee's file that the employee has received training in the Code of Conduct.
      United States Conference of Catholic Bishops must have policies and procedures
      for the discipline or termination of personnel who violate the Code of Conduct.


   c. The Code of Conduct is required to indicate that staff must:


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    o Respect the boundaries inherent in the relationship between unaccompanied
        children and care provider staff both while in ORR care and after release (for
        example staff should not take an unaccompanied child to his. or her home (with
        the exception of community-based foster care parents) or the home of the
        employee's personal acquaintances);

    o Enforce zero tolerance and other policies to prevent, detect and respond to sexual
        abuse and harassment by not engaging in any kind of sexual activity or personal
        relationship with unaccompanied children, or former unaccompanied children; or
        parents, guardians, or sponsors of unaccompanied children;

       Not provide legal advice to UC;

    o Only provide therapeutic counseling if properly licensed and authorized;

    o Maintain professional standards and manner when dealing with children and
       youth, visitors or fellow employees by dressing appropriately and refraining from
       giving.money or gifts, using inappropriate language, proselytizing religion or
       making unauthorized disclosures of confidential information, or campaigning on
       behalf of a political party, politician or interest group;

    o Not discriminate against any person on the basis of race, color, religion, national
       origin, or sex; lesbian, gay, bisexual, transgender, questioning or intersex status;
       veteran status, age, or disability;

    o Employ strength-based behavior management approaches and never hit, harass,
       humiliate or degrade an unaccompanied child or other staff member;

    o Cooperate with official investigations (Child Protective Services, State licensing,
       etc.) as well as other legally sanctioned investigations, such as those conducted. by
       law enforcement;

       Report any criminal or inappropriate conduct of other staff and never participate
       in the activities of a criminal gang; and,



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           Protect fellow care provider staff and unaccompanied children from retaliation if
           they disclose or threaten to disclose the existence of an illegal or unsafe practice.



2. United States Conference of Catholic Bishops staff are required to timely report to
   care provider management any misconduct (on or off duty). Failure to report misconduct
   or reporting false information will be grounds for termination.


   a. Misconduct may include but is not limited to:

       o Any criminal arrests and/or convictions;

       o Any child abuse and/or neglect allegations, adjudications, or convictions (whether
          criminal, civil or administrative); and,

       o Any engagement or attempt to engage in sexual activities facilitated by force,
          overt or implied threats of force or coercion; or if the victim did not consent or
          was unable to consent or refuse.

   b. Timely reporting is defined as no later than 24 hours from when a subject has
       knowledge of an arrest, conviction, or allegation, or earlier if the subject has
       unsupervised access to unaccompanied children. Other unethical conduct may also be
      the basis for disciplinary action and/or termination. Program Directors or other care
      provider management officials must report any disciplinary action and/or termination
      of any employee to ORR.


   Conflict of Interest
   a, United States Conference of Catholic Bishops staff are prohibited from taking
      unfair advantage of any professional or personal relationship or from exploiting their
      position to further their personal, religious, political, financial, or business interests.


   b. United States Conference of Catholic Bishops must establish and maintain a
      written Conflict of Interest policy applicable to all staff, board members, contractors,



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       sub-contractors, sub-grantees, volunteers, and other internal stakeholders. The policy
       must:

       o Identify and define conduct that creates a conflict of interest or a potential conflict
           of interest;

       o Prohibit employees from having any direct or indirect financial interests in the
           transactions of services of the program;

       o Require staff to recuse themselves from the decision-making process if there is a
           conflict of interest or a potential conflict of interest;

       o Require staff to disclose any conflicts of interest prior to their involvement in a
           decision related to or affected by the conflict; and,

       o State that failure to disclose conflicts of interest or potential conflicts of nterest
          may result in discipline or termination of employment,



E. Training


   United States Conference of Catholic Bishops must ensure all prospective employees
   meet all required educational and professional experience qualification and demonstate
   that ability to provide culturally competent services and all employees, contractors, and
   volunteers complete pre-service training prior to having direct contact with UC and
   complete the required annual training.


2. Newly hired employees must complete pre-service training prior to having direct contact
   with unaccompanied children. United States Conference of Catholic Bishops must
   provide pre-training on the following:.

   * ORR's Standards to Prevent, Detect, and Respond to Sexual Abuse and Sexual
       Harassment involving Unaccompanied Children;

   •   All State and local licensing requirements; and,

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             •    State license required trainings (for example, CPR., first. aid, mandatory reporting).

      3. Staff who are required to have professional certifications must abide by continuing
             education requirements necessary to maintain licensure. In addition, all care provider
             staff must complete 40 hours of training annually of which 2 hours must involve training
             on the Flores settlement agreement, the HSA of 2002, the 'INTRA of 2008, the. Perez-
             Olano settlement agreement, and 10 hours on ORR policies and procedures, Foster care
             providers and .foster families are subject to all OR.R training and documentation
             requirements, In addition, the foster care providers must ensure that foster parents meet
             the competencies required at the time of licensing and focus the foster parent pre-service
             and ongoing training on developing these competencies.


     4. United States Conference of Catholic Bishops must develop annual staff trainings
             based on the following areas:
                 State licensing requirements, laws, regulations, and policies relevant to the ORR UC
                 Program,

         •       ORR operational policies and relevant guidarice9;

         •       The Safe and Timely Release process;

                 Cultural competency, including awareness of and sensitivity to different cultural
                 backgrounds;

         •       Prohibition against providing legal advice or counsel;

         •       Strength-based behavior management approaches, such as using conflict resolution,
                 problem solving skills, using rewards and consequences and de-escalation techniques
                 and helping children and youth learn accountability and self-control;

         •       Prohibition against conflicts of interest;


a Care providers have two years to complete. They are not required to cover all topic areas within the same year.
9 Care providers must have policies and procedures for the prompt dissemination, training, and implementation of
new or updated ORR policies and procedures.


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       •    Crisis/intervention procedures and techniques;

       •    Immigration and child welfare systems (local, national, international);

       •    Child development theory;

       •    Issues related to loss and family separation;

       •   Common health and mental health issues;

       •   First aid and cardiopulmonary resuscitation (CPR);

    •      Medication management;

    •      Infection control procedures and Occupational Safety and Health Administration
           (OSHA) or equivalent course that covers blood borne pathogens, airborne pathogens,
           and employee safety;

    •      Working with victims of human trafficking and other crimes;

   •       Mandatory child abuse and neglect reporting requirements: prevention, signs, and
           repotting;

   •       Professional boundaries;

   • Emergency and disaster preparedness;

   •       Code of Conduct and Conflicts of Interest;

   •       Grievance policies and procedures; and,

   •       Incident reporting.

5. United States Conference of Catholic Bishops must provide training to all new
   contractors and volunteers, where the level and type of training provided is based on the
   services they provide and the level of contact they have with unaccompanied children.
   Contractors hired for a term that is expected to last one year or more must undergo the
   standard 40 hours of training required for all care provider employees. All contractors
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     and volunteers must undergo pre-service training prior to having direct contact with UC.


 6. United States Conference of Catholic Bishops must document all trainings completed
    by staff and place a copy in the staff's personnel file, including:

    •   The date, number of hours, and subject-matter of the employee's orientation training

    •   The date and number of hours of in-service training completed by the employee in
        each topic area listed above;

    •   A confirmation that the employee understood each training that he/she completed;
        and,

    •   The name of the individual and/or entity providing the training.



F. Grant Administration


    United States Conference of Catholic Bishops must submit a detailed project plan of
    the approach, activities, staffing, and timelines which is approved by ORR. and is in
    compliance with respective State residential care licensing requirements, the Flores
    settlement agreement, applicable federal laws and regulations, and the ORR policies and
    procedures. Any modifications must be discussed with the ORR Project Officer prior to.
   implementation.


2. United States Conference of Catholic Bishops must submit a program budget for ORR
   and ACF's Office of Grants Management (OGM) approval that accurately reflects
   proposed activities as described in the project plan,


3. United States Conference of Catholic Bishops must notify the ORR Project Officer of
   any significant delays or issues regarding implementation of grant activities.


4. United States Conference of Catholic Bishops must regularly consult with the ORR.
   Project Officer and other ORR. staff while implementing grant activities during each




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    phase of the project. Consultation shall include, but is not limited to, participation in
    status meetings by telephone to review project implementation or as required by ORR,


5. United States Conference of Catholic Bishops must provide ORR. with unrestricted
   access to clear, timely, and accurate information about all aspects of the program. This
   access includes, but is net limited to: activities, policies, and financial information;
   documentation on individual UC and provided services; and unrestricted physical access
   to United States Conference of Catholic Bishops 's premises, buildings, staff and UC
   in the programs physical custody; and any physical property on. the premises, such as
   video monitoring equipment and footage.


6. United States Conference of Catholic Bishops must ensure that all Sub-Recipients
   comply with respective state residential care licensing requirements, the Flores settlement
   agreement, pertinent federal laws and regulations, and the ORR policies and procedures,
   unless otherwise expressly waived (in writing) by authorized ORR staff,


7. United States Conference of Catholic Bishops must submit the following documents to
   the ORR Project Officer:


   a. All applicable State and local licensures, incorporations, and/or authorizations for
       United States Conference of Catholic Bishops and any Sub-Recipient at the
       beginning of each Federal fiscal year,

   b. A description of responsibilities and activities of all organizations, individuals, or
      Sub- Recipients providing services to UC within 30 days of ORR.'s award date. All
      Sub- Recipients are subject to approval by the ORR Project Officer and must include
      the following considerations:

          Memoranda of Understanding (MOU) or similar instrument, .with organizations or
          individuals selected for receipt. of sub-awarded funds;




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     o A detailed description of the Sub-Recipients' activities, if not adequately
         described in the MOUs (or similar instrument) or project plan (may include a
         monitoring. tool jointly developed by Project Officer and Grantee);

     o Complete budget for each Sub-Recipient;

     o Schedule for monitoring Sub-Awardees with respect to location, dates, and
         agenda will be reported in United States Conference of Catholic Bishops
         quarterly reports to ORR;

         Reports following monitoring visits of sub-awardees and immediately notifies the
         ORR Project Officer of any serious concerns and will submit the final report.
         within 30 days following the monitoring visit; and,

         Prompt notification to ORR Project Officer of any changes regarding Sub-
         Recipient.

     Report of all State defined residential care placement restrictions to be submitted
     within 7 days of date of ORR award.

 d. Notify the ORR. Project Officer immediately hut no later than 24 hours after the care
     provider, service provider/contractor or Sub- Recipient receives a revocation or
     suspension of a license, incorporation or authoritation to provide services.

 e. Notify the ORR Project Officer immediately but no later than 24 hours after the care
     provider, service provider/contractor or Sub-Recipient receives any citiation from a
     State or local licensing agency or other accrediting agency and any citation for health,
    safety or enviornemental code violations violaitons.

 f. list of all State mandated staff trainings, including required timeline for completion
    dates within 30 days of date of ORR award.

 g. All materials (e.g., farms and other tools) used or created for residential services for
    UC. Materials are subject to approval by ORR Project Officer and must be submitted
    to the Project Officer 30 days prior to being implemented.


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         uarterly performance and financial reports are to be uploaded into GrantSolutions
       unless otherwise directed by OGM or ORR...

8. United States Conference of Catholic Bishops also agrees:

       To comply with FIHS policy and regulations, unless otherwise expressly waived in
       the approved application and all other applicable Federal statutes and regulations in
       effect during the time that it is receiving grant funding.

   b. To amend the approved project plan as needed to comply with standards, goals, and
       priorities established by the Director;


       To submit quarterly performance and financial reports in a timely fashion based on
       the schedule that is described in Section VIII of this agreement.


   d. To abide by provisions of the Service Contract Act, Code of Federal Regulations
       (CFR) Title 29 and abide by applicable State wage determination guidelines in its
       program.



G. Adherence to ACF Policy on Grants o Faith-Based Organizations
   Consistent with the ACE Policy on Grants to Faith-Based, .ACF is mindful that potential

   grantees .may have religious objections to providing certain kinds of services. ACF is

   committed to providing the full range of legally permissible services to people who need

   them, and to do so in a timely fashion and in a manner that respects the diverse religious

  and cultural backgrounds of those we serve. At the same time, ACE is also committed to

  exploring ways for organizations to partner with ACE and other grantees even if they

  object to providing specific services on religious grounds.

  The following are ways in which organizations with such objections may be able to
  participate in human services programs:



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    •   Serveasaubsantees: In many cases, subgrantees do not need to provide every
        service for which the grantee is responsible, so long as all clients served have access
        to all services required under the grant in a timely and respectful manner. Grantees
        must ensure that their overall program provides all of the required services, but
        grantees can use subgrantees to provide some services. Under this arrangement, as
        long as other subgrantees are readily available to provide clients with the objected-to
        services, a subgrantee may participate in. the grant program while declining to provide
        services to which they have religious objection.
    •   Apply in a consortium: A second possibility is for faith-based organizations to apply
        in a consortium with one or more partners. The consortium would allow for a
        division of responsibility consistent with each organization's principles. Again, as
        long as clients have timely access to all required services, different organizations
        could divide up the services provided,
    •   Notify grantor: A. third possibility in some circumstances would be for the grantee to
        notify the federal program office responsible for the grant if a client's needs or
        circumstances may require services, including referrals, to which the organization has
        a religious objection. It would then be the federal agency's responsibility to follow
        through with the needed services, or, if appropriate, transfer the case to another
        provider.
ACF will consider any combination of these approaches and is open to considering other
approaches that would accomplish the goal of ensuring that people have access to a full range
of services while enabling qualified faith-based organizations to participate in the delivery of
those services in a manner consistent with their principles.


H. Responsibilities of ORR
ORR hereby agrees to the following:


   To confirm project plan (which includes approach, activities, timelines, and results
   expected) and budget, and discuss minor modifications;

2. To submit and/or review FFR SF-425 to be sure it accurately reflects proposed activities;



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    3 To participate in status meetings by telephone to review project implementation
         monthly, or as required by the ORR Project Officer or other ORR .staff);

        To keep United States Conference of Catholic Bishops informed of policy, regulatory
        and legal developments as they affect the implementation of the project;

    5. To review and approve United States Conference of Catholic Bishops Sub-awards of
        organizations providing residential services;

        To review and approve additions or hiring of key personnel, including those of Sub-
        Awardee of organizations providing residential services, in a timely manner;

    7. To review all internal policies, procedures, and protocols used or created for the
        residential services for I)UCO in a timely fashion;

   8. To provide training and technical assistance, as needed, regarding project
        implementation, and residential service delivery; and,

        To promptly review written requests for prior approval. of deviations from the project
        plan or approved budget. Any changes that affect the terms and conditions of the grant
        award or revisions/amendments to the Cooperative Agreement or to the approved scope
       of activities will require prior approval by the ORR Project Officer and the Grants
        Management Specialist in the Office of Grants Management (OGM).


SECTION V: Budget and Financial Arrangement
The approved budget is reflected in the Notice of Award (NoA), The award will be based on the
ORR and the OGM approved negotiated budget and project plan.


The Government shall not be obligated to reimburse the recipient for costs incurred in excess of
the total amount allotted to this project, and the recipient shall not be obligated to continue
performance under the Agreement (including actions under the termination clause) or otherwise
to incur costs in excess of the amount allotted to this Agreement unless and until ORR and the
OGM have notified the recipient in writing that additional funds have been awarded. No notice,
communication, or representation from any person other than the Grants Management Specialist


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shall authorize the expenditure of additional funds. The United States Government will not be
obligated for any excess costs in the absence of a written notice of authorization from the Grants
Management Officer. Changes issued pursuant to this Agreement shall not be considered an
authorization to the recipient to exceed the allotted amount of this Agreement unless specifically
stated by the Grants Management Officer.


SECTION VI: Monitoring
ORR will conduct announced and unannounced monitoring activities throughout the project
period. The purpose of ORR monitoring is to ensure compliance with the Flores settlement
agreement, pertinent federal laws and regulations, and ORR policies and procedures.
Performance and compliance measures are reflected in:

    •    The grant application, as funded;

    •    Program requirements contained in the authorizing statutes;

    •    Program regulations and guidelines incorporated in the grant award;

    •    Program grant and administrative requirements contained in regulations and. policy;

    •    Relevant public policy requirements (assurances, certifications);

    •    This agreement;

    •    The ORR Policy Guide and relevant procedures; and,

   •     Special programmatic terms and conditions, if any.

ORR monitoring activities will include desk and on-site (announced and unannounced)
monitoring and site visits. ORR will monitor or conduct site visits on programs based on some
of the following factors:

         Costs and Total. Support — high cost projects

   •     Complexity projects with multiple service components;



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          Age and Experience of Program — newly established program, one receiving Federal
          funds for the first time, one with inexperienced key personnel, or one whose legislation
          has recently undergone substantial change, may require closer scrutiny than a long
          established program;

    •     Prior Indication of Compliance issues — available audit or evaluation findings, recipient
          requests for assistance, or data on financial stability of an organization;

    * Length of Grant multi-year award, particularly one up for continuation awards that have
         never been visited may take precedent over new ones;

    •    Time Since Last Visit — if program has not been recently or previously visited;

    *    Geographic Location — proximity to other recipients, accessibility to program office;

    •    Agency Priority — high priority I visibility projects within the agency, high interest to
         Congress, the executive branch, or the public; and,

    •    Potential for Dissemination — programs projects that show potential for developing
         exemplary practices suitable for dissemination.



ORR will provide United States Conference of Catholic Bishops with a monitoring report
following formal monitoring visits or if required site visits, that will include citations for
noncompliance, recommendations, a corrective action plan if needed, timelines for reporting, and
consequences for not responding.

The monitoring report is not exhaustive of all that is reviewed during the monitoring visit.
Rather, the report highlights the key issues in need of attention, as determined by the monitor and
based on the review of all ORR policies and procedures. After review of the monitoring report, a
formal corrective action plan should be submitted to the designated Project Officer within 30
business days. The corrective action plan will identify objectives, specific actions, persons
responsible and date of completion for each monitoring citation.

SECTION VI1, Continuation Applications


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United States Conference of Catholic Bishops must submit an ORR provided continuation
application by June 1, or a later date determined by ORR.. For continuation applications, United
States Conference of Catholic Bishops will provide the following information:
    1, Standard Forms: SF 424 Application for Federal Assistance, SF 424A Budget
        information for Non-Construction Programs, and SF 424B Assurances for Non-
        Construction. Programs;
    2. Certification Regarding Lobbying
    3. Budget worksheets and narrative;
    4. Program Description and Work plan;
    5. Current State Residential Care License;
    6. Proof of insurance;
    7. Facility lease or bank mortgage note on property (as applicable);
    8. Indirect Cost Rate approval, if any;
    9. Current Program Organizational Ch
    10. Staffing and Volunteer Roster;
    11. Copy of all Child Protective Services reports, allegations and CPS investigations;
    12. Property/Inventory List;
    13. Project/Pedomiance Site Location(s) form


United States Conference of Catholic Bishops must use the current version of all standard
applications and reporting forms.


Current versions of the forms are available at: https://www.grants.gov


SECTION VIII: Applicable Regulations
United States Conference of Catholic. Bishops must provide all residential services for IX in
compliance with respective state residential care licensing, the Flores settlement agreement,
pertinent federal laws and regulations, including Standards to Prevent, Detect, and Respond to
Sexual Abuse and Sexual Harassment involving Unaccompanied Children, 45 C.F.R. 411, and
ORR policies and procedures. Other applicable federal regulations are discussed in the attached
Standard Terms and Conditions.


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SECTION IX: Records and Rep its
For quarterly performance reports, United States Conference of Catholic Bishops will use the
ACF Performance Progress Report ACF-OCIM SF-PPR form. Performance Reports are due
quarterly based on the project period start date.


For financial status reports, United States Conference of Catholic Bishops will use the SF-425
form, which will include report of expenditures and unliquidated obligations. Quarterly financial
reports are due every 90 days based on the project period start date.. The Annual Financial
Status and Performance report is due 90 days after the end of the budget period. The Final
Financial Status and Performance report is due90 days after the end of the project period.


Funds awarded under this Cooperative Agreement shall be accounted for and reported upon
separately from all other grant activities.


United States Conference of Catholic Bishops must use the current version of all reporting
forms. Current versions of the forms are available at:https://www.grants.gov



All correspondence and reports related to this agreement must include the Grant Number and
should be uploaded to OrantSolutions at https://home.grantsolutions.gov/home/. Notification of
submission should be sent via email to the ORR Project Officer.


SECTION X: Project Contacts


United States Conference of Catholic Bishops designates the following person as project contact
for this cooperative agreement:


               Name: Kristyn Peck
               Title: Associate Director, Children's Services
               Address: 3211 4th Street, NE, Washington, DC 20017
               Telephone: (202) 541-3039
               Fax:


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              Email: kpe       u cch.org




ORR designates the following person as ORR Project Officer for this cooperative agreement:
              Name:           Sathya Acevedo
              Address:        330 C Street, SW Washington, DC 20201
               Telephone:     (202) 401-5737
               le •           (202) 401-1022
               Email;         Sathya.Acevedo@aef.hhs.gov




SECTION XI: Duration of Agreement
This agreement will be effective February 1, 2017- January 31, 2020. Annual continuations will
be entertained on a non-competitive basis, subject to availability of funds, satisfactory
performance of the project, capacity needs and a determination that continued funding is in the
best interest of the Federal Government.




E. Scott Lloyd                                       Date
Director
Office of Refugee Resettlement




Anthony Picarello                                           Date
Associate General Secretary & General Counsel
United States Conference of Catholic Bishops




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